Case 2:07-cr-20168-JWL Document 1926-1 Filed 07/14/20 Page 1 of 8

U.S. Department of Justice
Federal! Bureau of Prisons

 

U.S. Medical Center for Federal Prisoners:
1900 W. Sunshine Street

 

 

Office of the Warden Springfield, Missourt 65807

McDaniel, Keith
Reg. No. 11792-031

RE: Request for Reduction in Sentence -
Dear Mr. McDaniel, .

You requested a reduction in sentence (RIS) based on concerns about COViD-19. After
careful consideration, your request is denied.

Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on
motion of the Director of the BOP, to reduce a term of imprisonment for extraordinary or
compelling reasons.. BOP Program Statement No. 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18 USC. 8S.’
3582(c){1 (A) and 4205(q), provides guidance on the types of circumstances that present
extraordinary or compelling reasons, such as the inmate’s terminal medical condition;
debilitated medical condition; status as a “new law’ elderly inmate, an elderly inmate with
medical conditions, or an “other elderly inmate’; the death or incapacitation of the family
member carégiver of the inmate's child; or the incapacitation of the inmate's spouse or _

_ tegistered partner. Your request has been evaluated consistent with this general guidance.

The BOP is taking extraordinary measures to contain the spread of COVID-19 and treat any
affected inmates. We recognize that you, like all of us, have légitimate concerns and fears

- about the spread and effects of the virus. However, your concern about being potentially ©
exposed to,.or possibly contracting, COVID-19 does not currently warrant an early release
-from your sentence. Accordingly, your RIS request is denied at this time.

If you are not satisfied with this response to your request, you may commence an appeal of
this decision via the administrative remedy process by submitting your concerns on the -
appropriate form (BP-9) within 20 days of the receipt of this response.

 

 
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| DEPARTMENT OF JUSTICE
Feé#ral Bureau of Prisons

REQUEST FOR ADMINISTRATIVE REMEDY

Dype or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

From: MeDaniel Kejth_ D

 

 

 

 

| 1792-03] §- | - Spenafiel d
. LAST NAME, FIRST, MIDDLE INITIAL REG. NO. . . UNIT “f INSTITUTION
My 358% MLA) Rea
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uest for teduchon in Sentence (Ris) base on COVID-IF 7
was! denied dated 5/4/20 which x feel Should of been aranted

because L brave owe of the aumber 41 underline aonditions
being hypertension , which if £  conteact COvID, pecause oF ack
oF ~ sectal Clistancins rE cauld he fatal. 33 Jo od pe wiaals
with CovilS show NO Symtoms and me beng atria@n Mheican
prod no testing TL am a brah risk, so tL fel My
request Should be gearted: instead or’ denied.

5]ab/20r0 Kath WDanuil
Part B- RESPONSE . ‘

SIGNATURE OF REQUESTER

 

DATE

 

WARDEN OR REGIONAL DIRECTOR
if dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.
ORIGINAL: RETURN TO INMATE ‘ CASE NUMBER:
CASE NUMBER:
Part C~ RECEIPT : oO
Return to:

; LAST NAME, FIRST, MIDDLE INITIAL REG. NO,” UNIT INSTITUTION
SUBJECT:

 
Case 2:07-cr-20168-JWL Document 1926-1 Filed 07/14/20 Page 3 of 8

 

EXTENSTON OF TIME FOR RESPONSE - ADMINISTRATIVE REMEDY

\

DATE: JUNE 12, 2020

FROM: ADMINISTRATIVE REMEDY COORDINATOR |
NORTH CENTRAL REGIONAL OFFICE

. TO : KEITH MCDANIEL, 11792-031 o
- SPRINGFIELD USMCFP UNT: WORK CADR QTR: W01-036U

>

ADDITIONAL TIME IS NEEDED TO RESPOND TO THE REGIONAL APPEAL
IDENTIFIED BELOW. WE ARE EXTENDING THE TIME FOR. RESPONSE AS PROVIDED
FOR IN THE ADMINISTRATIVE REMEDY PROGRAM STATEMENT.

REMEDY ID : 1022356-R1

DATE RECEIVED :'JUNE 11, 2020
RESPONSE DUE : AUGUST 10, 2020
SUBJECT 1 : REDUCTION-IN-SENTENCE REQUEST

SUBJECT 2

 
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USMCFP Springfield
Springfield, MO
Reentry Services”

   

 

_Re: Keith McDaniel
Fed. Reg. No. 11792-031

lam the Reentry Affairs Coordinator at the United States Medical Center for Federal
Prisoners in Springfield, Missouri. Mr. McDaniel transterred to this institution July of
2016 and I met him shortly afterwards. He attended a reentry seminar where the guest
speaker was a formerly incarcerated, now successful restaurant owner, Mr. McDaniel
introduced hirnself to me at this seminar and | have met with him several times since.
From my first encounter with Mr. McDaniel! until now, he has consistently kepta
positive attitude and outlook towards his life.

Mr. McDaniel’s transcript shows he has completed 22 programs since arriving at this
facility. | facilitate small book groups and other groups that Mr. McDaniel has also
participated in that are not counted on his transcript. A few of the programs he has
completed at this facility include Parenting, Job Fair, Treatment, Goal Setting, and’
Criminal Thinking. ,

Mr. McDaniel has expressed his intention to continue to enroll in self-development
programs and classes, He has told me many times that he wants to continue his
personal development and better himself in preparation for his release from prison and

"that his greatest desire is to return home to his family and never again do anything to
jeopardize them being together.

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_ USMCFP Springfiel

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U.S. DEPARTMENT OF JUSTICE

 

 

 

 

 

 

 

BP-A0324
JUN 10 FEDERAL BUREAU OF PRISONS
WORK PERFORMANCE RATING
Inmate's Name Register No. Unit
McDaniel, Keith 11792-031 W01-036U
Evaluation Period Work Assignment
April, 2020 CCS Orderly/Corr Complx

 

 

 

. ,Bonus Justification _ . . .
Inmate was an essential worker and was willing to work during the modified/Quarantine status,

 

Signature and Date of Dept. Head Approval

Co Git Abo

Route to pepe. Head dor hreview, Then te Unit Team

 

Instructions: Check the best statement in each area. Base your rating on the inmate’s overall performance for
the rating period--neither the inmate's best day nor worst day-~as compared to what is expected of a
satisfactory worker in the assignment.

A. QUALITY OF WORK

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Unsatisfactory. Makes more errors than should for this level of training. Work must be redone,
Fair. Careless; makes mistakes and does not check work. Should do better work.

Satisfactory. Makes some mistakes but no more than expected at this level.

Good. Makes fewer mistakes than most inmates at this level of training. Does Journeyman level work.

Outstanding. Does superior work

UANTITY OF WORK

Unsatisfactory. Lazy, wastes time, goofs off,
Fair. Does just enough to get by. Has to be prodded occasionally.
Satisfactory. Works steadily but does not push self.
Good. Willing Worker. Does a full day's work and wastes little time,
Outstanding. Drives self exceptionally hard all the time.
NITIATIVE
Unsatisfactory. Always waits to be told what to do. Needs help getting started,
- Fair, Usually relies on others to say what needs to be done.
- Satisfactory. Can adapt to changes in routine. Will start work without waiting to be told.
Good. Can plan own work well. Acts on own in most things, Doesn't wait to be told what to do.
» Outstanding. Has good ideas on better ways of doing things.

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NTEREST; EAGERNESS TO LEARN

Poor. Shows no interest in job. Regards job as a drag or waste cf time.

Fair. Shows minimal interest but not very eager to learn.

Satisfactory. Shows average amount of interest. Wants to learn own job but does not put forth extra
effort.

Good. Above~-average interest in job. Asks questions about own work and related work. May do extra work to
improve skills. . .

Outstanding. Fager to master job. Wants to know everything ‘there is to know about it. May read up on own
time cr volunteer te do things that will improve knowledge.

E,. ABILITY TO LEARN

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BAR

Poor. Has very low aptitude and is very slow to learn, Even when given extra instruction unable to learn,

no matter how hard trying.

Fair. Slow but if tries eventually will pick up the skills. Needs more instructions than most.
Average. No slower and no faster to learn than most inmates. Requires average amount of instruction.
Good. Learns rapidly. Good memory. Rarely makes the same mistake iwice.

Outstanding. Very quick to learn. Excellent memory. Is tearning much more rapidly than most inmates
assigned here. Never makes the same mistake twice.

F. NEED FOR SUPERVISION; DEPENDABILITY; SAFETY; CARE OF EQUIPMENT

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Ms

ny

Needs constant supervision. If left unsupervised will foul up, get in trouble, or wander off.
Undependable.

Needs closer supervision than most. Not very dependable.

Average. Can be relied on for certain things but must be supervised by others. Usualiy prompt and
dependabie. :

Needs little supervision. Good record of dependability an promptness.

- No supervision required. Completely dependable in ali things.

Replaces BP-S324, OCT 94

PDF

Prescribed by P5254 Replaces BP-S324, OCT 94
Case 2:07-cr-20168-JWL Document 1926-1 Filed 07/14/20 Page 6 of 8

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Ne,

U.S. DEPARTMENT OF JUSTICE

 

 

 

 

 

 

 

 

 

 

 

 

BP-AO575
JUN 10 FEDERAL BUREAU OF PRISONS
PERFORMANCE PAY DAILY RECORD - INMATE

SUNDAY MONDAY TUESDAY WEDNESDAY THURSDAY FRIDAY SATURDAY
DAY OF MO: 1 2 3 4
DAY OF Mo: [6 7 8 9 10 11
7
DAY OF MO: 113 14 15 16 17 18
7 7 7 7 7 7
DAY OF MO: [20 24 22 23 24 25
7 7 7 7 7 7
DAY OF MO: {27 |28 29 30°

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Note: For days reflecting less than 7 hours worked explain by inserting applicable

 

code:
C = Callout -Voo= Visit AD = Admin. Det./Discip. Seg
EH = Education HO = Holiday U = Unsatisfactory
F = Furlough I = Medical Idle .
H = Hospital UA = Unauthorized
Inmate’s Name Register No. Detail

 

McDaniel, Keith 11792-031

 

CCS Orderly/ Corr Complx

 

Month: April, 2020

 

FILE IN SECTION 4 UNLESS APPROPRIATE FOR PRIVACY FOLDER

PDF

Prescribed by P5251

Total Hours: 98

SECTION 4

Replaces reverse of BP-324 of OCT 84
Case 2:07-cr-20168-JWL Document 1926-1 Filed 07/14/20 Page 7 of 8

SPGS9 * INMATE EDUCATION DATA
PAGE 001 * TRANSCRIPT
REGISTER NO: 11792-031 NAME..: MCDANIEL

FORMAT.....: TRANSCRIPT

= EDUCATION INFORMATION

FACL ASSIGNMENT DESCRIPTION
SPG ESL HAS ENGLISH PROFICIENT
SPG GED EARNED GED EARNED IN BOP

SUB-FACL DESCRIPTION

.SPG CAD YOGA FOR HEALTHY MIND AND BODY
SPG CAD PEDOMETER & HEART RATE MONITOR
‘“SPG CAD INTRO TO HOBBYCRAFTS

SPG CAD INTERVIEW SKILLS

SPG. CAD CARDIO AND RESP SYSTEMS

SPG CAD RPP#1 U R WHAT YOU EAT

SPG CAD RPP#3 GET RIGHT WITH YOUR TAXS
SPG CAD HEALTH FAIR SEMINARS

SPG CAD RPP6 SET AND ACHIEVE GOALS

SPG CAD RPP#3 GET RIGHT WITH YOUR TAXS
SPG CAD RPP2 INFORMATION MOCK JOB FAIR
SPG CAD RPP#3 PERSONAL FINANCE

SPG CAD RPP6 CRIMINAL THINKING- PSYCH
SPG CAD CODE OF CONDUCT IN LEISURE SPT
SPG CAD RPP2 INFORMATION MOCK JOB FAIR
SPG CAD RPP#3 GET RIGHT WITH YOUR TAXS
SPG CAD PEDOMETER & HEART RATE MONITOR
SPG CAD RPP6 PARENTING 2.

SPG CAD UPHOLSTERY LEISURE COURSE

SPG CAD EMPIRICAL TO MODERN STRUCTURES
SPG CAD RPP#6 INTRO TO TREATMENT

SPG CAD - £JOB SURVIVAL SKILLS REENTRY
SPG CAD HEALTH PAIR SEMINARS

SPG CAD CODE OF CONDUCT IN LEISURE SPT
SPG CAD RPP6 PARENTING 1

SPG CAD CODE OF CONDUCT IN LEISURE SPT
SPG CAD INTRODUCTION TO WELLNESS

ASH LETS EDUCATE AGAINST DRUGS

ASH VICTIM IMPACT PANEL

ASH A&O WELLNESS AT RISK

MAN RPP#1 DISEASE PREVENTION

MAN BODY TRANS CLASS

MAN MAN -UP

MAN FAST TRACK12-13:00, M-F, (C)
MAN UNICOR HYGHINE

MAN RPP#6 SPIRITUAL DEVELOPMENT
MAN RPP#5 RELEASE PREP PROG A&O
BSY CHG GEDB4 : LEVELM;11:50-1:20 M-F
BSY CHG INT OIL PAINT;W;12:30-3:30;JB
BSY CHG ELL ORIENTATION

GO002 MORE PAGES TO FOLLOW

EDUCATION COURSES

RSP OF: SPG-SPRINGFIELD USMCFP

FUNC: PRT

07-04-2020
09:21:09

START DATE/TIME STOP DATE/TIME
04-11-2010 0913 CURRENT
09-16-2012 0001 CURRENT

START DATE

07-05-2019

07-16-2019
05-17-2019
03-04-2019
02-05-2019
02-05-2019
11-08-2018
09-26-2018
07-24-2018
08-08-2018
05-15-2018
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12-29-2017
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10-27-2016
11-01-2016
12-08-2016

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10-26-2011
06-08-2011
09-15-2010
09-29-2010
10-05-2010

08-16-2019
07-30-2019
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05-09-2011
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11-03-2010

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* INMATE EDUCATION DATA

HIGH TEST SCORES

SUBTEST SCORE TEST DATE
AVERAGE 462.0 08-28-2012
LIT/ARTS 500.0 11-07-2011
MATH 470.0 08-28-2012
SCIENCE 440.0 11-07-2011
soc STUDY 450.0 11-07-2011
WRITING 450.0 11-07-2011
LIT/ARTS 510.0 08-04-2011
MATH 490.0 04-05-2011
‘SCIENCE 460.0 10-05-2011
Soc STUDY 500.0- 08-04-2011
WRITING 450.0 08-04-2011

TRANSACTION SUCCESSFULLY COMPLETED

FUNC

07-04-2020
09:21:09

: PRT

STOP DATE EVNT AC LV HRS

OF 002 * © TRANSCRIPT *

NO: 11792-031 NAME..: MCDANTIEL

.».: TRANSCRIPT RSP OF: SPG-SPRINGFIELD USMCFP

Kos ass EDUCATION COURSES ;
DESCRIPTION START DATE
BEG OIL PAINT;W;12:30-3:30;3JB 06-01-2010 07-15-2010
STOP THE VIOLENCE ;MON; 7:40AM 05-09-2010 06-23-2010
ELL ORIENTATION ‘ 01-27-2010 01-27-2010

P cep 12
P cp 24
P cP

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